                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


KEITH SNYDER, SUSAN MANSANAREZ,
and TRACEE A. BEECROFT, individually
and on behalf of all others similarly situated,

                   Plaintiffs,                    Case No. 1:16-cv-11675
       v.

U.S. BANK N.A., WILMINGTON TRUST,
                                                  JURY TRIAL DEMANDED
N.A., and DEUTSCHE BANK NATIONAL
TRUST COMPANY, individually and in their
                                                  REASSIGNED AS RELATED TO:
capacities as trustees,

                   Defendants.


KEITH SNYDER, et al.,
                                                  Case No. 1:14-cv-08461
                   Plaintiffs,
                                                  Honorable Matthew F. Kennelly
v.

OCWEN LOAN SERVICING, LLC,

                  Defendant.


     RESPONSE OF U.S. BANK, N.A. AND MORGAN, LEWIS & BOCKIUS LLP TO
             FEBRUARY 13, 2019, RULE TO SHOW CAUSE ORDER
I.      PRELIMINARY STATEMENT

        Defendant U.S. Bank National Association (“U.S. Bank”) and its counsel, Morgan, Lewis

& Bockius LLP (together, “Respondents”) regret that they did not determine until early January

2019 that Plaintiff Keith Snyder’s loan (the “Snyder Loan”) was never in the Greenpoint

Mortgage Funding Trust 2005-HE2 Trust (the “Greenpoint 2005 Trust”), as reported by Ocwen

on multiple occasions and pled by Plaintiffs.1 U.S. Bank accepts its share of the responsibility

for the circumstances leading to the Court’s February 13, 2019 Order to Show Cause (the

“Order”). Respectfully, however, the Court should not impose Rule 11 sanctions, among other

reasons, because no statement in U.S. Bank’s Answer is false and, moreover, Respondents acted

in good faith after an inquiry reasonable under the circumstances.

        Until January 2019, U.S. Bank reasonably—but incorrectly—believed that the Snyder

Loan at one point had been in the Greenpoint 2005 Trust, based on a reasonably diligent search

of its files.2 A U.S. Bank Vice President located two different documents from the files of two

different U.S. Bank departments, reflecting that the Snyder Loan had previously been in the

Greenpoint 2005 Trust. The source of those documents was Ocwen, the day-to-day mortgage

loan servicer for the Greenpoint 2005 Trust; Ocwen also happened to be the source of Plaintiffs’

belief that the loan was in the Greenpoint 2005 Trust. Regrettably, U.S. Bank has concluded that

the information provided by Ocwen was wrong.

        U.S. Bank’s reliance on the data provided by Ocwen was appropriate and reasonable, and

should not result in sanctions. As the trustee for the Greenpoint 2005 Trust, U.S. Bank regularly


1
 Respondents do not believe that Plaintiffs bear any responsibility for the error. Like U.S. Bank,
Plaintiffs received information from Ocwen on which they were entitled to, and reasonably did, rely.
2
  Although not specifically raised by the Court, Respondents acknowledge that mistaken belief was
reflected in U.S. Bank’s discovery responses, which are being amended.

                                                    1
receives data from Ocwen, and, as explained infra, is expected and contractually entitled to rely

on that data. Under the documents creating and governing the Greenpoint 2005 Trust (the

“Pooling and Servicing Agreement” or “PSA”), the sponsor of the securitization (not U.S. Bank)

hired, and allocated specific independent roles to different service providers based on their

specialized expertise and experience. See generally Ex. 2 (Greenpoint 2005 Trust PSA).

Ocwen, as servicer, performs loan-level work for the Greenpoint 2005 Trust and is solely

responsible for collecting mortgage loan payments and interacting with borrowers. See id. at

Art. 3. In contrast, U.S. Bank, as trustee, operates at the trust level and is not responsible for

loan-level functions. See id. at Art. IX. To the limited extent that U.S. Bank needs loan-level

data concerning the trust, the PSA makes clear that Ocwen is required to provide that data to the

Trustee, that the Trustee is not required or expected to verify it, and that the Trustee is privileged

to rely on its truth and accuracy. See id. at §§ 9.01-9.02.

       In January 2019, Respondents discovered additional information that demonstrated the

information upon which U.S. Bank relied was incorrect. Of course, Respondents wish that they

had discovered the discrepancy earlier. However, there is no basis to infer that they intended to

mislead Plaintiffs or the Court. Certainly, Respondents had no incentive to suggest that U.S.

Bank was a proper defendant in this case when it is not. U.S. Bank’s prior understanding

reflected its good-faith belief at the time that, at some point, the Snyder Loan was in the

Greenpoint 2005 Trust, and as soon as Respondents discovered the issue, they informed Ocwen

and Plaintiffs, and provided Plaintiffs with detailed information of the relevant known facts with

supporting documents. Under the circumstances, sanctions are not warranted.

II.    BACKGROUND

       The following background demonstrates that U.S. Bank acted reasonably and that the

error at issue in this Order was unintentional.


                                                  2
        A.      Relevant Pre-Litigation Events

        U.S. Bank is the trustee for the Greenpoint 2005 Trust, which closed on or about April

29, 2005. Greenpoint Mortgage Funding Inc. (“Greenpoint”) was the original servicer, see Ex. 2,

and Ocwen replaced Greenpoint as servicer in December 2013. See Ex. 6 (Omnibus Consent to

Transfer and Assignment of Servicing). Separately, a trust known as Greenpoint Mortgage

Funding Trust 2007-HE1 (the “Greenpoint 2007 Trust”) closed on or about March 6, 2007. See

Ex. 3 (Sale and Servicing Agreement). The Snyder Loan was originated in 2006 (Compl., ¶ 26)

and, according to the loan schedule for the Greenpoint 2007 Trust, the Snyder Loan was

conveyed to that trust at closing. See Decl. of Eric Mest (“Mest Decl.”) & Ex. 5 attached

thereto.3

        B.      Relevant Litigation Events

                1.     The Underlying Ocwen Litigation

        Plaintiffs sued Ocwen in October 2014 for alleged violations of the TCPA (the “Ocwen

Litigation”). See Ocwen Litig., Case No. 14-cv-08461 (N.D. Ill. 2014), ECF No. 1. On

December 5, 2016, Ocwen responded to Plaintiffs’ discovery requests, identifying U.S. Bank, as

trustee for the Greenpoint 2005 Trust, as the investor in the Snyder Loan. Based on Ocwen’s

responses, Plaintiffs reasonably understood that U.S. Bank is the trustee for the Greenpoint 2005

Trust – which was true – and reasonably believed that the Snyder Loan was in that trust – which

was not true.

                2.     This Lawsuit

        The Complaint in this case was filed December 28, 2016. ECF No. 1. On June 26, 2017,

U.S. Bank filed its Answer. ECF No. 60. As discussed below, the Answer acknowledged that


3
 This loan schedule and Ex. 4 have been redacted to remove loan numbers and information about all
other loans to protect the privacy of borrowers.


                                                  3
U.S. Bank was the trustee of the Greenpoint 2005 Trust but denied allegations that the Snyder

Loan was then-currently held in the Greenpoint 2005 Trust.4

          On July 17, 2017, U.S. Bank served responses to Plaintiffs’ Requests for Admission and

Interrogatories. The discovery responses incorrectly stated that the Snyder Loan had been in the

Greenpoint 2005 Trust and then was removed from the trust. The responses were verified by

John Richards, a Vice President of U.S. Bank’s Global Corporate Trust Services Group. See

Decl. of John G. Richards II (“Richards Decl.”), ¶¶ 1-2.

          Mr. Richards personally gathered information from two separate sources to support the

verification. First, Mr. Richards relied on information from U.S. Bank’s RMBS Database. See

id. at ¶¶ 2-5, 7. U.S. Bank is trustee for numerous trusts, and the loans in those trusts are

serviced by many different servicers. U.S. Bank frequently receives litigation and other

correspondence (concerning, for example, a foreclosure or property code violation) and, to

enable U.S. Bank to forward that correspondence to the appropriate servicer for response, U.S.

Bank maintains a database, referred to as the “RMBS Database,” which stores data provided by

servicers, including lists of loans and the associated servicer and trust to facilitate its

coordination of inquiries tied to particular borrowers or properties. See id. at ¶ 3. Mr. Richards

queried U.S. Bank’s RMBS Database to see whether he could connect the Snyder Loan to any

particular trust. See id. at ¶ 5. The RMBS Database reflected that on or around January 28,

2015, Ocwen had reported to U.S. Bank that the Snyder Loan was in the Greenpoint 2005 Trust.

See id.




4
 A Senior Vice President and Chief Litigation Counsel for U.S. Bank and a Senior Vice President of U.S.
Bank’s Global Trust and Custody Services division worked on the Answer. U.S. Bank is not waiving its
attorney-client privilege or work-product protections, so this memorandum does not address
communications between Morgan Lewis and U.S. Bank relating to the Answer and discovery responses.


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       Second, Mr. Richards obtained from U.S. Bank’s Investor Reporting Group an Excel file

Ocwen had sent U.S. Bank. See id. at ¶¶ 6-7. The Investor Reporting Group is responsible for

preparing monthly distribution reports for certain trusts, including the Greenpoint 2005 Trust (for

which U.S. Bank is the trustee) and the Greenpoint 2007 Trust (for which U.S. Bank is securities

administrator).5 See id. As directed by the PSA (and discussed infra), U.S. Bank prepares those

reports based solely on information that the servicer delivers to U.S. Bank on a monthly basis.

The file reflected that the loan had been in the Greenpoint 2005 Trust and then was charged off.

See id. at ¶ 6 & Ex. 4.

       Thus, both sources checked by Mr. Richards were consistent with Plaintiffs’ allegations

that the Snyder Loan was associated with the Greenpoint 2005 Trust; having identified two

sources of corroborating evidence, U.S. Bank did not conduct an additional review to rule out the

possibility of other inconsistent information.

               3.         Settlement of the Ocwen Litigation, and Stay of the Trustee Litigation

       Just eleven days after U.S. Bank served its discovery responses, Plaintiffs informed the

Court that they and Ocwen had reached a settlement in principle in the Ocwen Litigation.

Ocwen Litig., ECF Nos. 243, 244. Although U.S. Bank and the other trustees were not

signatories to that settlement agreement, it is the trustees Defendants’ contention that Ocwen

would be required to indemnify the trustee Defendants for any potential liability in this case, and

the proposed settlement agreement contemplated Plaintiffs releasing claims against the trustee

Defendants, including U.S. Bank. The parties jointly moved the Court to stay this case pending

the Court’s consideration of the settlement and the stay was granted on August 14, 2017.


5
 At closing, LaSalle Bank N.A., (which was later acquired by Bank of America) was the Master Servicer
and Securities Administrator of the Greenpoint 2007 Trust. See Ex. 3. In 2011, U.S. Bank became the
successor Master Servicer and Securities Administrator of that trust. See Mest Decl., ¶ 4. It has never
been the trustee for that trust.


                                                   5
        This case remained stayed for more than one year. On September 28, 2018, the Court

denied final approval of the settlement, and the parties in the Ocwen Litigation returned to

mediation joined by the trustee Defendants. Ocwen Litig., ECF No. 334. Ultimately, Plaintiffs

and Ocwen revised the terms of their settlement, eliminating a release of the trustee Defendants.

On November 14, 2018, the stay in this case was lifted. ECF No. 84.

                4.      U.S. Bank’s Discovery that Ocwen’s Information Was Incorrect

        In early January 2019, in response to an unrelated inquiry from another party concerning

the Greenpoint 2005 Trust, U.S. Bank located mortgage loan schedules for the Greenpoint 2005

Trust and provided the schedules to Morgan Lewis.6 See Decl. of Michael Kraut (“Kraut

Decl.”), ¶ 4. The Snyder Loan did not appear on the schedules. Id. Respondents promptly

began investigating the identified inconsistency further. See id. at ¶¶ 6-9. On January 8, 2019,

U.S. Bank located and provided to Morgan Lewis the mortgage loan schedule for the Greenpoint

2007 Trust, which reflected the Snyder Loan. See id. at ¶ 5; see also Mest Decl., ¶ 6 & Ex. 5.

U.S. Bank is not the trustee but is instead the Master Servicer for the 2007 trust. See Mest Decl.,

¶ 4. On January 9, 2019, Morgan Lewis contacted counsel for Ocwen; when counsel spoke on

January 10, 2019, Ocwen requested that U.S. Bank afford it a few days to research the issue. See

Kraut Decl., ¶ 6. On January 11, 2019, Morgan Lewis informed Ocwen’s counsel that U.S. Bank

was eager to raise this issue with Plaintiffs, and that U.S. Bank would give Ocwen one more

business day to research but intended to call Plaintiffs’ counsel to raise this issue no later than

Monday, January 14th. See id.


6
 In hindsight, U.S. Bank regrets it did not also review the available schedules earlier, in addition to the
two other sources U.S. Bank did consult, but it did not seem necessary at the time. U.S. Bank’s validation
of its responses against two different documents obtained from two different departments does not
warrant sanctions. See Philos Techs., Inc. v. Philos & D, Inc., 802 F.3d 905, 917 (7th Cir. 2015)
(vacating sanctions order where party “had enough support for its contentions . . . to avoid Rule 11
sanctions”).


                                                    6
       On January 14, 2019, Ocwen’s counsel informed Morgan Lewis that information in its

files, which Ocwen obtained from a prior servicer, reflects that the Snyder Loan was in the

Greenpoint 2005 Trust. See Kraut Decl., ¶ 7. Morgan Lewis immediately contacted counsel for

Plaintiffs and informed Plaintiffs’ counsel that U.S. Bank had reason to believe that it was not a

proper defendant in this case and that U.S. Bank would elaborate further that same week after

U.S. Bank further investigated the discrepancies.7 See id. at ¶¶ 7-8. On Friday January 18, 2019,

counsel for U.S. Bank sent a detailed letter, followed with five exhibits that provided support for

U.S. Bank’s analysis and conclusion. See id. at ¶ 9 & Ex. 1.

III.   ARGUMENT

       “Rule 11 sanctions are only to be granted sparingly, and should not be imposed lightly.”

Lefkovitz v. Wagner, 219 F.R.D. 592, 592-93 (N.D. Ill. 2004), aff’d, 395 F.3d 773 (7th Cir. 2005)

(citing Hartmarx Corp. v. Abboud, 326 F.3d 862, 867 (7th Cir. 2003); Zralka v. Tures, 708 F.

Supp. 948, 951 (N.D. Ill. 1989)); see also Hartmarx Corp., 326 F.3d at 867 (“In exercising its

discretion, a district court must also bear in mind that such sanctions are to be imposed sparingly,

as they can ‘have significant impact beyond the merits of the individual case’ and can affect the

reputation and creativity of counsel.”) (quoting Pac. Dunlop Holdings, Inc. v. Barosh, 22 F.3d

113, 118 (7th Cir. 1994)).

       In limited circumstances, a court may sua sponte “order an attorney, law firm, or party to

show cause why conduct specifically described in the order has not violated Rule 11(b).” Fed.

R. Civ. P. 11(c)(3). Rule 11(b) provides, in relevant part:

       By presenting to the court a pleading, written motion, or other paper—whether by
       signing, filing, submitting, or later advocating it—an attorney or unrepresented

7
 This case was stayed for 15 of the 18 months between when U.S. Bank served its discovery responses
and when it informed Plaintiffs of the discrepancy, providing an understandable reason why the
discrepancy was not discovered earlier.


                                                  7
       party certifies that to the best of the person’s knowledge, information, and belief,
       formed after an inquiry reasonable under the circumstances:

       (1) it is not being presented for any improper purpose, such as to harass, cause
       unnecessary delay, or needlessly increase the cost of litigation;

       (2) the claims, defenses, and other legal contentions are warranted by existing law
       or by a nonfrivolous argument for extending, modifying, or reversing existing law
       or for establishing new law;

       (3) the factual contentions have evidentiary support or, if specifically so identified,
       will likely have evidentiary support after a reasonable opportunity for further
       investigation or discovery; and

       (4) the denials of factual contentions are warranted on evidence, or if specifically
       so identified, are reasonably based on belief or a lack of information.

Fed. R. Civ P. 11(b)(1)-(4). For reasons explained below, sanctions are not warranted.

       A.      Sanctions Are Not Warranted Because Respondents
               Did Not Make Any False Statements in the Answer

       The Court should not impose Rule 11 sanctions because neither Respondent made any

false statement in U.S. Bank’s Answer. U.S. Bank admitted in its Answer that it acts as trustee

for the Greenpoint 2005 Trust. Answer at n.1 & ¶¶ 1, 32, 101, 104-105, 116-118. That is true.

And in response to Plaintiffs’ allegations that the Greenpoint 2005 Trust “holds” Plaintiff

Snyder’s promissory note and that U.S. Bank acts as trustee for the Greenpoint 2005 Trust

“including as to Plaintiff Snyder’s HELOC loan,” U.S. Bank denied that the Snyder loan is in

the 2005 Trust. Compl., ¶¶ 32, 104, 105; Answer, ¶¶ 32, 104-105. These statements were true

when the Answer was filed and remain true today, and therefore sanctions are not warranted.

       While, at the time, U.S. Bank reasonably believed that the Snyder Loan once had been in

the Greenpoint 2005 Trust, the allegation was properly denied because the Snyder Loan

previously had been charged off; accordingly, Plaintiff’s allegations – framed in the present tense

– that the Snyder Loan is in the Greenpoint 2005 Trust were inaccurate. Because U.S. Bank’s

Answer was correct, sanctions are not warranted. See generally Fiala v. B & B Enters., 738 F.3d


                                                 8
847, 852 (7th Cir. 2013) (“A complaint might be filed with no pre-complaint investigation

whatsoever; but if the purpose was not improper and all the alleged facts turned out to be true

and the [party] prevailed in the suit, there would be no basis for imposing [Rule 11] sanctions.”).

        B.      U.S. Bank’s Inquiry Before Providing Discovery Responses
                Was Diligent, and Its Reliance on Servicer-Provided Data Was Reasonable

        While the Court did not raise the prospect of a discovery sanction, Respondents believe it

appropriate to provide the Court information concerning U.S. Bank’s discovery responses.

Respondents provide this analysis even though Rule 11 “does not apply to disclosures and

discovery requests, responses, objections, and motions under Rules 26 through 37.” Fed. R. Civ.

P. 11(d). As demonstrated above, before responding to Plaintiffs’ discovery requests, U.S. Bank

made a diligent inquiry, the results of which appeared to confirm that the loan was associated

with the Greenpoint 2005 Trust, as alleged in the Complaint. See Richards Decl., at ¶¶ 2-7; see

also Mest Decl. A U.S. Bank Vice President reviewed both an internal U.S. Bank database and a

document from U.S. Bank’s Investor Reporting Group, which both contained data that U.S. Bank

had received from the servicer for the Greenpoint 2005 Trust. In order to understand why it was

reasonable for U.S. Bank to rely on a servicer to provide loan-level information, it is critical to

understand the roles each of them plays in connection with RMBS trusts.

                        a.       Role of the Trustee

        The trustee of an RMBS trust does not function as a traditional trustee (with the

concomitant fiduciary duties and obligations), but as an “indenture trustee.”8 As an indenture




8
  Peak Partners, L.P. v. Republic Bank, 191 F. App’x 118, 122 (3d Cir. 2006) (describing indenture trustee
as a “different legal animal” from an ordinary trustee); see also AG Capital Funding Partners, L.P. v. State
Street Bank & Tr. Co., 11 N.Y.3d 146, 156, 896 N.E.2d 61, 866 N.Y.S.2d 578 (2008) (indenture trustee’s
status “is more that of a stakeholder than one of a trustee”) (quotations and citation omitted).


                                                     9
trustee, the RMBS trustee’s duties under New York law9 “are ‘strictly defined and limited to the

terms of the indenture.’ An indenture trustee undertakes no obligations other than those

explicitly set forth in the agreements.”10 The governing agreement – the PSA – expressly

acknowledges and incorporates the principle of law that indenture trustees’ duties are limited to

those expressly set forth in the PSA and none can be implied against the Trustee.11

           U.S. Bank’s duties as trustee of the Greenpoint 2005 Trust are limited and ministerial.

U.S. Bank did not originate the loans in the trust, select those loans for inclusion in the trust,

perform due diligence on them (or have any duty to do so), service the loans, or act as custodian

for the loan-level mortgage loan file documents. U.S. Bank’s duties as trustee for the Greenpoint

2005 Trust include: (i) nominally holding legal title to the trust fund, including the mortgage

loans, for the benefit of certificate holders in the trust;12 (ii) calculating monthly payments to

each class of certificate holders from servicer reported collections deposited by the servicer into

a trust account;13 (iii) preparing monthly distribution reports to certificate holders based on a

format identified in the PSA and including the results of calculations and aggregated summary




9
 New York law governs the Greenpoint 2005 Trust pursuant to a choice-of-law provision in the PSA. Ex.
2, § 11.03.
10
  Blackrock Core Bond Portfolio v. U.S. Bank Nat’l Ass’n, 165 F. Supp. 3d 80, 91 (S.D.N.Y. 2016) (quoting
Elliott Assocs. v. J. Henry Schroder Bank & Tr. Co., 838 F.2d 66, 71 (2d Cir. 1988)); see also Meckel v.
Cont’l Res. Co., 758 F.2d 811, 816 (2d Cir. 1985) (“Unlike the ordinary trustee, who has historic common-
law duties imposed beyond those in the trust agreement, an indenture trustee is more like a stakeholder
whose duties and obligations are exclusively defined by the terms of the indenture agreement.”); Royal
Park Invs. SA/NV v. HSBC Bank USA, Nat’l Ass’n, 109 F. Supp. 3d 587, 597 (S.D.N.Y. 2015) (same);
Hildene Capital Mgmt., LLC v. Friedman, Billings, Ramsey Grp., Inc., No. 11 Civ. 5832 (AJN), 2012 WL
3542196, *12 (S.D.N.Y. Aug. 15, 2012) (same).
11
     Ex. 2, § 9.01.
12
  Ex. 2, § 2.01. The Trustee holds legal title to the loans not for its own personal benefit, but solely for the
benefit of certificateholders of the trust. Id.
13
     Ex. 2, §§ 5.01, 5.02.


                                                      10
information derived from content received exclusively from the servicer;14 and (iv) preparing tax

filings on behalf of the trust.15

                             b.      Role of the Servicer

           While an RMBS trustee is the face of the trust to certificateholders, the servicer is the

face of the trust to borrowers. The PSA gives the servicer “full power and authority, acting alone

. . . to do any and all things in connection with such servicing and administration which it may

deem necessary or desirable. . . .”16 As one leading treatise explains:

                      [S]ervicers are responsible for enforcing the terms of a defaulted
                      securitized loan. This responsibility may include: (1) foreclosing
                      on the property and/or in a commercial context pursuing other
                      related remedies such as exercising an assignment of leases and
                      rents, appointing a receiver of rents, etc.; or (2) agreeing with the
                      borrower to “work out” the loan default by modifying the terms of
                      the loan or forbearing from exercising certain remedies in order to
                      allow the borrower an opportunity to cure the underlying default.17

           While loans are performing, the servicer is responsible for sending statements and

correspondence, handling escrow and insurance payments, performing customer service, and

collecting payments. When loans become delinquent, the servicer is responsible for notifying

borrowers of their delinquencies; working with borrowers to cure defaults or modify loans;




14
     Ex. 2, § 5.03.
15
     Ex. 2, § 3.01.
16
     Ex. 2, § 3.15.
17
  Talcott J. Franklin & Thomas F. Nealon III, Mortg. & Asset Backed Secs. Litig. Handbook, § 5:112 (2d
ed. 2018); see also Tran v. Bank of New York, No. 13 Civ. 580 (RPP), 2014 WL 1225575, *1 n.5 (S.D.N.Y.
Mar. 24, 2014), aff’d, 529 F. App’x 24 (2d. Cir. 2015), amended and superseded on other grounds, 610 F.
App’x 82 (2d Cir. 2015) (“Although Plaintiffs’ claims are based on the premise that it is the Trustee
Defendants that collect their mortgage loan payments and execute foreclosure proceedings, that premise is
factually incorrect. The mortgage loan servicers will collect the debt service payments on the loans and
distribute the same to investors and are responsible for . . . foreclosing on the property.”); see generally
CWCapital Asset Mgmt., LLC v. Chicago Props., LLC, 610 F.3d 497, 499-502 (7th Cir. 2010) (describing
role of servicer).


                                                       11
instituting and prosecuting foreclosure actions; and then maintaining and repairing, as necessary,

and selling foreclosed properties.18

                             c.    The PSA Expressly Provides for the Trustee
                                   to Rely on the Servicer to Provide Accurate Loan-Level
                                   Data and Exculpates the Trustee for Relying on Such Data

            In light of these differing roles, it is reasonable for a trustee to look to the servicer for

information as to which loans the servicer is servicing for a trust. In fact, because the Trustee

has no other reliable way to collect up-to-date loan-level data, the PSA expressly requires the

servicer to provide servicing-related data to the trustee and in multiple places explicitly states

that the trustee is expected and entitled to rely on its accuracy.

           In particular, the Greenpoint 2005 Trust PSA requires the servicer to deliver to the

Trustee on a monthly basis a servicer report that contains all information about the loans in the

trust so that the Trustee can prepare statements to certificateholders. Ex. 2, § 5.03. The PSA

states that “[t]he Trustee shall not be responsible to recompute, recalculate or verify any

information provided to it by the Servicer.” Id. at § 5.04.19 This servicer file is the document

that Mr. Richards reviewed when seeking to confirm that the Snyder loan was in the Greenpoint

2005 Trust. See Richards Decl., ¶ 4 & Ex. 4.

           Not only does the PSA expressly state that the Trustee shall rely on the servicer’s loan-

level data, the PSA explicitly exculpates the Trustee from liability for doing so: “the Trustee

shall have no obligation to reconcile, recompute or recalculate any remittances or reports of the

Servicer and the Custodian and the Trustee may fully rely upon and shall have no liability with




18
     Ex. 2, §§ 3.01, 3.06.
19
  Section 5.03 similarly provides that the Trustee’s responsibility for disbursing information in the
monthly distribution reports for certificateholders to review “is limited to the availability, timeliness and
accuracy of the information derived from the Servicer.”


                                                      12
respect to information provided by the Servicer and the Custodian.” Ex. 2, § 9.01. The PSA

further provides that the trustee is not bound to investigate the facts of any report or other

document that it receives unless directed to do so by certificateholders with at least 25% of the

voting rights of the trust. Id. at § 9.02(a)(v).

        In light of the roles of the parties, it was reasonable for the Trustee to rely on the

accuracy of servicer data when it responded to the discovery requests, particularly when the

information corroborated the allegation in the Complaint.

        C.      Morgan Lewis Satisfied Its Duty of Reasonable Inquiry

        Morgan Lewis worked with U.S. Bank in preparing the Answer and the discovery

responses, and the documents were reviewed and approved by U.S. Bank. See Kraut Decl., ¶¶ 2-

3.

        Although the discovery responses regrettably contain an error, Morgan Lewis satisfied its

duty of reasonable inquiry. Without revealing attorney-client communications and work

product, Morgan Lewis conferred with Mr. Richards. Mr. Richards checked appropriate sources

of available and relevant information, which appeared to confirm that the Snyder Loan had been

in the Greenpoint 2005 Trust. See Richards Decl., ¶¶ 2-5, 7. Morgan Lewis did not have access

to any information to the contrary. See generally Iosello v. Orange Lake Country Club, Inc.,

Case No. 14 C 3051, 2015 WL 2330180, at *2 (N.D. Ill. May 14, 2015) (“Under these

conditions, it was reasonable for Iosellos’ counsel to rely on the factual contentions that their

clients relayed to them.”).

        Moreover, in light of the allegations in the Complaint that the Snyder Loan was in the

Greenpoint 2005 Trust, the fact that U.S. Bank data agreed with the allegations rendered Morgan

Lewis’s reliance on the accuracy of U.S. Bank’s verification objectively reasonable under the

circumstances. See Hadges v. Yonkers Racing Corp., 48 F.3d 1329-1331 (2d Cir. 1995)


                                                   13
(attorney made a reasonable inquiry under the circumstances and Rule 11 sanctions not

warranted where counsel relied on the sworn statements of his client and another attorney in

similar litigation).

          D.      Sanctions Are Not Warranted Because of Respondents’ Good Faith

          Sanctions are not warranted because any error relevant to this Order was made

unintentionally, in good faith, not for an improper purpose, and promptly was corrected upon

detection. See Milwaukee Concrete Studios, Ltd. v. Fjeld Mfg. Co., 8 F.3d 441, 449 (7th Cir.

1993) (although party’s “factual error was admittedly a serious one, and one with which the

district court was understandably perturbed, the error was inadvertent and therefore not

sanctionable”); see also Pennsylvania Chiropractic Ass’n v. Blue Cross Blue Shield Ass’n, 188 F.

Supp. 3d 776, 787-90 (N.D. Ill. 2016) (Kennelly, J.) (denying discovery sanctions where court

not persuaded that party or counsel knowingly certified inaccurate or incomplete discovery

responses).20 Such an error is not the type of abusive litigation misconduct that warrants

sanctions under Rule 11. See Milwaukee Concrete Studios, 8 F.3d at 451 (“Although it is true

that deterrence is a central goal of Rule 11, that goal would not be furthered by the imposition of

sanctions here. Inadvertent factual errors will occur—we hope not frequently, but litigants and

attorneys will make mistakes . . . but Rule 11 is not directed to isolated factual errors”) (citations

omitted).21 Any error or mistake does not rise to the level of intentional or bad faith misconduct

warranting sua sponte sanctions under Rule 11. See DH Holdings, LLC v. MeridianLink, Inc.,

No. 10 C 2351, 2010 WL 3385456, at *2 (N.D. Ill. Aug. 23, 2010) (Kennelly, J.) (sanctions not




20
     Appeal dismissed per stipulation, Nos. 16-2588 & 16-2845, 2017 WL 6501547 (7th Cir. Nov. 7, 2017).
21
  See also N. Illinois Telecom, Inc. v. PNC Bank, N.A., 850 F.3d 880, 883-889 (7th Cir. 2017) (reversing
sanctions order and discussing history and purpose of Rule 11).


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justified where circumstances did not show “an improper purpose within the meaning of Rule

11”); see also Harding Uni. v. Consulting Servs. Grp., L.P., 48 F. Supp. 2d 765, 769 (N.D. Ill.

1999) (Rule 11 sanctions “will not be imposed unless a specific allegation is utterly void of

support”) (citations omitted).

        Moreover, Respondents have fully and continually cooperated with Plaintiffs throughout

this case, including with respect to the issues relevant to this Order, which further evidences their

good faith. When U.S. Bank discovered the discrepancy in January 2019, Morgan Lewis

attempted to resolve the discrepancy with Ocwen, promptly thereafter contacted counsel for

Plaintiffs to explain the situation, and voluntarily wrote a detailed letter with exhibits to Plaintiffs

setting forth the support for U.S. Bank’s conclusion that the Snyder loan was not in the

Greenpoint 2005 Trust. See Kraut Decl., ¶¶ 4-7. In addition, as directed by the Court, Morgan

Lewis conferred with counsel for Plaintiffs to try to assist Plaintiffs in identifying the ownership

history of the Snyder Loan after it left the Greenpoint 2007 Trust.22 U.S. Bank remains

committed to working cooperatively with Plaintiffs in this regard.

IV.     CONCLUSION

        The mistakes that led to this Order—Ocwen’s misidentification of the trust to Plaintiffs

and to U.S. Bank, which was consistent with Plaintiffs’ allegations, and the failure to discover

the error earlier—are unfortunate. U.S. Bank accepts its share of the responsibility for the

mistakes and apologizes to the Court. For all of the reasons set forth in this memorandum,

however, sanctions are not warranted.




22
  While not directly relevant to the issues of the Order, U.S. Bank has cooperated extensively with
Plaintiffs in other ways. Morgan Lewis voluntarily met with Plaintiffs’ counsel for more than two hours
in November 2018 to explain how RMBS transactions work, the roles of the parties, and to answer
questions from Plaintiffs’ counsel. See Kraut Decl., ¶ 10.


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Dated: February 22, 2019
                           Respectfully submitted,

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                           16
